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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

 LARRY NALLS,                   :
                                :
         Plaintiff,             :                      Case No. 3:22-cv-243
                                :
      v.                        :
                                :                      Judge Thomas M. Rose
 MONTGOMERY                     :                      Magistrate Judge Caroline H. Gentry
 COUNTY PROSECUTOR’S OFFICE, et :
 al.,                           :

            Defendants.
______________________________________________________________________________

      ENTRY AND ORDER ADOPTING REPORT AND RECOMMENDATIONS
______________________________________________________________________________

       The Court has reviewed the Report and Recommendation of United States Magistrate

Judge Caroline H. Gentry (Doc. No. 41) to whom this case was referred and, noting that no

objections have been filed thereto and that the time for filing such objections under Fed. R. Civ.

P. 72(b) has expired, hereby ACCEPTS the findings and recommendation made by the Magistrate

Judge and said Report and Recommendation. The Clerk is directed to enter judgment dismissing

this action with prejudice.

       DONE and ORDERED in Dayton, Ohio, this Thursday, February 16, 2023.

                                                                 s/Thomas M. Rose
                                                         ________________________________
                                                                 THOMAS M. ROSE
                                                         UNITED STATES DISTRICT JUDGE




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